                          United States District Court
                        Western District of North Carolina
                               Charlotte Division

        Michael Warshawsky            )              JUDGMENT IN CASE
        Michael Steinhauser,          )
                                      )
             Plaintiff(s),            )             3:20-cv-00562-RJC-DSC
                                      )
                 vs.                  )
                                      )
        CBD Industries, LLC           )
           cbdMD, Inc,                )
          Defendant(s).               )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s August 9, 2022 Order.

                                               August 9, 2022




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